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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 GREGORY SHIPP, CHRISTOPHER DIXON,                    )
 ERIC JOHNSON, and ZACHARY JOHNSON,                   )
 on behalf of themselves and all others similarly     )
 situated,                                            )
                                                      )   Civil Action No. 1:22-cv-00888
                                Plaintiffs,           )
                                                      )   Judge Robert M. Dow Jr.
                         v.                           )
                                                          Magistrate Judge Gabriel A. Fuentes
                                                      )
 DAVID GOMEZ, as Warden of Northern                   )
 Reception and Classification Center, and ROB         )
 JEFFREYS, as Director of the Northern                )
 Reception and Classification Center,                 )
                                                      )
                                Defendants.

                              JOINT INITIAL STATUS REPORT

       Pursuant to the Court’s Orders (Dkt. Nos. 14 & 25) dated March 17, 2022, and April 25,

2022, and Federal Rule of Civil Procedure 26(f), Plaintiffs and Defendants (collectively the

“Parties”) to the above-captioned action have met and conferred regarding the matters set forth

herein. The Parties have agreed on certain preliminary matters, and hereby submit this Joint Initial

Status Report.

   A. Attorneys of Record

Plaintiffs:

Terri Lynn Mascherin, Benjamin J. Bradford, Lindsey Anne Lusk, Garrett Salzman, Emily Anne
Merrifield, Alexander Edward Cottingham, Steven J. Tinetti, Karolina Lucyna Bartosik, and
Arianne R. Wilt of JENNER & BLOCK LLP, 353 North Clark Street, Chicago, IL 60654.

Alan S. Mills and Nicole Rae Schult of UPTOWN PEOPLE’S LAW CENTER, 4413 North
Sheridan Road, Chicago, IL 60646.




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Defendants:

Kristin K. Lindemann of the OFFICE OF THE ATTORNEY GENERAL FOR THE STATE OF
ILLINOIS, 100 West Randolph Street, Chicago, IL 60601.

   B. Basis for Federal Jurisdiction

       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3).

The Parties do not dispute subject matter jurisdiction.

   C. Nature of Asserted Claims in the Complaint and Any Counterclaims

       Plaintiffs claim that Defendants have violated Plaintiffs’ civil rights, which are protected

under the Eighth and Fourteenth Amendments to the United States Constitution. These rights

include the right to be free from cruel and unusual punishment, the right to due process, and the

right to equal protection of the laws.

       Plaintiffs are, or until recently were, incarcerated in the Northern Reception Center

(“NRC”) of the Illinois Department of Corrections located at Stateville Correctional Center.

Plaintiffs claim that the conditions in the NRC are horrendous. As alleged in the First Amended

Complaint, the NRC is infested with vermin, toilets in the cells are coated in hazardous mold, and

plumbing blockages frequently cause cell toilets and cell house showers to overflow with sewage.

Plaintiffs are not given adequate cleaning supplies to attempt to clean their cells of the sewage and

mold. In addition, Plaintiffs receive inadequate portions of food, which is nutritionally deficient,

often spoiled, and unsanitary. These hazardous living conditions are compounded by the Plaintiffs

receiving inconsistent and limited time out of their cells.

       Plaintiffs seek declaratory and injunctive relief under 42 U.S.C. § 1983 to redress the

deprivations of their civil rights caused by the unconstitutionally cruel and unusual conditions of

confinement at the NRC.




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          Defendants do not allege any counterclaims. Defendants deny that they have violated any

statute or constitutional amendment giving rise to this action and deny that Plaintiffs are entitled

to any relief whatsoever. Furthermore, Defendants deny that this suit should be certified as a class

action.

   D. Status of Service

          All Defendants have been served (See Dkt. Nos. 8, 9, 18.).

   E. Principal Factual and Legal Issues

          The principal legal and factual issues in this 42 U.S.C. § 1983 action are whether

Defendants violated Plaintiffs’ Eighth and Fourteenth Amendment rights by permitting the NRC

to be overrun by vermin, neglecting to maintain adequate plumbing systems (resulting in

Legionella contamination in the drinking water and frequent overflows of raw sewage into

Plaintiffs’ cells and cell house showers), serving Plaintiffs spoiled and nutritionally deficient food,

failing to provide Plaintiffs with adequate cleaning supplies to clean mold, human feces, and

vermin excrement in their cells, and failing to provide necessary out-of-cell time on a consistent

basis. As a result of these alleged ongoing conditions, Plaintiffs and the class who they seek to

represent are allegedly subjected to unconstitutionally cruel and unusual conditions of

confinement. Plaintiffs allege that Defendants possess actual knowledge of the inadequate and

hazardous conditions at NRC and have impeded remedying preventable harm, despite possessing

the power to correct the inadequate, hazardous, and constitutionally deficient conditions.

          Defendants deny that they have violated any statute or constitutional amendment giving

rise to this action and deny that Plaintiffs are entitled to any relief whatsoever. Furthermore,

Defendants deny that this suit should be certified as a class action.




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    F. Jury Trial Demand

        The Parties would demand a jury to the extent any claims are added for which a jury trial

is possible.

    G. Status of Discovery

        The Parties have not conducted any discovery as of the filing of this Report.

        On or before May 9, 2022, Plaintiffs will file a Motion for Preliminary Injunction,

accompanied by a Motion for Expedited Discovery seeking expedited responses to Requests for

Production and Interrogatories, as well as expert discovery (if any). Plaintiffs’ counsel is currently

coordinating the collection of declarations from Named Plaintiffs, three of whom were recently

transferred to different correctional facilities across the state.

        Defendants will oppose any motions for preliminary injunctive relief and/or expedited

discovery. However, counsel for Defendants has performed initial investigation of Plaintiffs’

claims and has begun to gather relevant documents. If the Court grants Plaintiff’s request for an

expedited discovery period, the Parties believe that a discovery cut-off of July 29, 2022 would be

appropriate.

    H. Proposed Trial Date and Estimated Length

        Plaintiffs estimate the length of trial to be fifteen days. Defendants believe it is premature

to estimate a date or length of time a trial might take.

    I. Magistrate Judge

        The Parties have not yet determined whether they would consent to trial before the

Magistrate Judge.

    J. Status of Settlement Discussions

        The Parties have not yet engaged in settlement discussions.



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   K. Settlement Conference

       Following appropriate discovery, Plaintiffs are willing to participate in a settlement

conference.

       Following appropriate discovery, Defendants will evaluate whether a settlement

conference would be beneficial, and if so, would be willing to participate in a settlement

conference.



Dated: April 29, 2022



Respectfully Submitted,

 s/___Terri Mascherin______                      s/___Kristin K. Lindemann_______
 Attorneys for Plaintiffs                        Attorney for Defendants

 Terri Lynn Mascherin                            Kristin K. Lindemann
 Benjamin J. Bradford                            OFFICE OF THE ATTORNEY GENERAL
 JENNER & BLOCK LLP                              FOR THE STATE OF ILLINOIS
 353 North Clark Street                          100 West Randolph Street, 13th Floor
 Chicago, IL 60654                               Chicago, IL 60601
 (312) 222-9350                                  (312) 814-3671
 (312) 840-7315                                  Kristin.lindemann@ilag.gov
 tmascherin@jenner.com
 bbradford@jenner.com

 Alan S. Mills
 Nicole Rae Schult
 UPTOWN PEOPLE’S LAW CENTER
 4413 North Sheridan Road
 Chicago, IL 60646
 (773) 769-1411
 alan@uplcchicago.org
 nicole@uplcchicago.org




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